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                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE
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Laurie Ortolano,                                      :
                                  Plaintiff           :
                                                      :
                                                                 1:22-cv-00326-LM
                       v.                             :
                                                      :
The City of Nashua, New Hampshire, et al.             :
                                Defendants            :


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          ASSENTED-TO MOTION OF ATTORNEY KURT S. OLSON FOR
           LEAVE OF THE COURT TO WITHDRAW AS COUNSEL FOR
                          LAURIE ORTOLANO


          Undersigned counsel, Kurt S. Olson, hereby respectfully requests that the
       Court permit him to withdraw from this case and offers the following in
       support of the motion:

  1.     Under L.R. 44.3, Kurt S. Olson respectfully requests leave of the
         court to withdraw from his representation of Ms. Ortolano in this
         case.
  2.     Currently pretrial statements are due on March 13, 2025, the Final Pretrial
         Conference is scheduled for April 3, 2025, and Jury Selection and
         Trial is scheduled for the two week period beginning on April 15, 2025.
  3.     There are several summary judgment motions pending before the Court and a
         motion to compel; however, Attorney Aivalikles entered an appearance on May
         10, 2024, and he is familiar with the case and the motions.
  4.     Counsel states that Ortolano has informed him that his services are no
         longer required.
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5. Counsel has contacted counsel for the parties, and they have assented to
  counsel’s withdrawal.

      WHEREFORE, Kurt S. Olson respectfully requests that this Honorable Court:

  A. Allow Attorney Olson to withdraw from representing Ms. Ortolano;

  B. Grant such other and further relief as may be just and equitable.



                                             Respectfully Submitted,
  Date: October 30, 2024
                                             /s/ Kurt S. Olson
                                             Kurt S. Olson Bar ID#: 12518
                                             Goulden Law Offices, PLLC
                                             Laconia, NH 03246
                                             kolson@mslaw.edu
                                             603-748-1960


                           CERTIFICATE OF SERVICE

      I hereby certify that electronic copies of this document have been
  served on counsel for the other parties using the ECF Electronic Filing
  System.


  Dated: October 30, 2024

                                                          /s/ Kurt S. Olson
                                                          Kurt S. Olson
